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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO et al.,                 §
             Plaintiffs                            §
                                                   §                  SA-21-CV-00844-XR
-vs-                                               §                  Consolidated Cases
                                                   §
GREGORY W. ABBOTT, IN HIS                          §
OFFICIAL CAPACITY AS GOVENOR                       §
OF TEXAS et al.;                                   §
                 Defendants                        §

                                            ORDER

       The text orders issued on November 16, 2021 denying the motions to appear pro hac vice

filed on behalf of counsel E. Stewart Crosland (ECF No. 71) and Stephen J. Kenny (ECF No. 72)

are WITHDRAWN. The pro hac vice motions (ECF Nos. 71 & 72) are GRANTED.

       Pursuant to our Administrative Policies and Procedures for Electronic Filing, Mr. Crosland

and Mr. Kenny must register for electronic filing with our court within 10 days of this order.

       It is so ORDERED.

       SIGNED this 31st day of October, 2022.




                                            _________________________________
                                            XAVIER RODRIGUEZ
                                            UNITED STATES DISTRICT JUDGE
